Case 9:19-cv-00169-RC-ZJH DocumentCIV33027
                                    3 Filed 09/19/19 Page 1 of 9 PageID #:Filed
                                                                             329/12/2019 5:24 PM
                                                                                 Bobbye Richards
                                                                                                   District Clerk
                                                                                             Polk County, Texas
                                                                                      Stephanie Moreno, Deputy


                                  CAUSE NO. CIV33027

LAKE LIVINGSTON CHURCH                        §                 IN THE DISTRICT COURT
OF GOD                                        §
Plaintiff,                                    §
                                              §
v.                                            §                   POLK COUNTY, TEXAS
                                              §

                                              §

STATE FARM LLOYDS                             §

Defendant.                                    §                411th JUDICIAL DISTRICT


                            DEFENDANT'S ORIGINAL ANSWER


       Defendant State Farm Lloyds files this Original Answer and Defenses to

Plaintiff's Original Petition.

                                          I.
                                    GENERAL DENIAL

       1.      Defendant generally denies all material allegations contained in Plaintiff's

Original Petition, and any amendment thereto, and demands strict proof thereof as

allowed under the laws of the State of Texas. By this general denial, Defendant would

require Plaintiff to prove every fact to support th e claims in Plaintiff's Original Petition,

and any amendment thereto, by a preponderance of the evidence.

                                           II
                                        DEFENSES

       2.      Policy Coverage Provisions. Under the Insuring Agreement, Plaintiff

bears the burden to prove the actual cash value of damage resulting from an

occurrence of accidental direct physical loss to the insured property during the policy

period. Plaintiff lacks proof of damages resulted from any accidental direct physical loss
Case 9:19-cv-00169-RC-ZJH Document 3 Filed 09/19/19 Page 2 of 9 PageID #: 33



during the policy period beyond those damages already paid by State Farm under the

Policy.

          3.     Limit of Liability. State Farm's liability, if any, is limited to the amount of

the policy limits under the subject policy, pursuant to the "Limit of Liability" and other

clauses contained in the policy sued upon.

          4.     Deductible/Offset. Defendant is entitled to an offset or credit against

Plaintiff's damages, if any, in the amount of Plaintiff's $5,000.00 deductible as well as an

additional offset or credit in the amount of State Farm's prior claim payments to Plaintiff

in the amount of $36,507.33.

          5.     Additional Offset. To the extent Plaintiff is claiming damage to its

property located at 115 Champion Way, Livingston, Texas 77351, and insured under

the same policy at issue, Defendant is entitled to an additional offset or credit against

Plaintiff's damages, if any, in the amount of State Farm's prior claim payments to

Plaintiff of $24,253.01 for overlapping damages with the insurance claim at issue.

          6.      No Storm Created Opening. Plaintiff's claims are barred, in whole or in

part, because the damages and losses alleged in Plaintiff's Original Petition, none being

admitted, were not caused by a storm created opening in the roof, walls, or outside

building glass that allowed rain to enter the building. The Policy specifically provides:

          Property Subject To Limitations

          1. We will not pay for loss to:
             e. The interior of any building or structure, or the property inside any building
                or structure, caused by rain, snow, sleet, ice, sand or dust, whether driven
                by wind or not, unless:

                 (1) The building or structure first sustains damage by a Covered Cause
                     Of Loss to its roof, outside walls, or outside building glass through
                     which the rain, snow, sleet, ice, sand or dust enters; or


                                                                                                 2
Case 9:19-cv-00169-RC-ZJH Document 3 Filed 09/19/19 Page 3 of 9 PageID #: 34



                  (2) The loss is caused by thawing of snow, sleet or ice o n the building or
                      structure.

Part of the damage to the interior of Plaintiff's property originated from wind-driven rain

through pre-existing gaps or cracks in deteriorated roofing components, rather than a

storm-created opening in the building. These losses are not insured under the Policy at

issue.

         7.       Loss Settlement Provision/Condition: Replacement Cost Benefits.

Under the Insuring Agreement, Plaintiff must first repair or replace the damaged

property to recover replacement cost benefits. The Policy specifically provides:

         e. Loss Payment

              In the event of loss covered by this policy:

              (2) At our option, we will either:

                  (a) Pay the value of lost or damaged property;
                  (b) Pay the cost of repairing or replacing the lost or damaged property;
                  (c) Take all or any part of the property at an agreed or appraised value;
                      or
                  (d) Repair, rebuild or replace the property with other property of like kind
                      and quality.

         We will determine e.(1)(a) in accordance with the applicable terms of Paragraph
         e.(4) below or any applicable provision which amends or supersedes the terms of
         Paragraph e.(4) below.
                                               *******
              (4) Except as provided in Paragraphs (b) through (e) below, we will
                  determine the value of Covered Property as follows:

                  (a) At replacement cost without deduction for depreciation, as of the time
                      of loss, subject to the following:

                     i.   We will pay the cost to repair or replace, after application of the
                          deductible and without deduction for depreciation, but not more
                          than the least of the following amounts:

                          1) The Limit Of Insurance under SECTION I — PROPERTY that
                             applies to the lost or damaged property;


                                                                                                 3
Case 9:19-cv-00169-RC-ZJH Document 3 Filed 09/19/19 Page 4 of 9 PageID #: 35



                        2) The cost to replace, on the described premises, the lost or
                           damaged property with other property of comparable material,
                           quality and used for the same purpose; or
                        3) The amount that you actually spend that is necessary to repair
                           or replace the lost or damaged property. . .
                                               *******
                    ii. We will not pay on a replacement cost basis for any loss:
                        1) Until the lost or damaged property is actually repaired or
                           replaced; and
                        2) Unless the repairs or replacement are made as soon as
                           reasonably possible after the loss.

Plaintiff lacks proof of completed repairs or replacement to all claimed damages

associated with Plaintiff's insurance claim. As such, Plaintiff's recovery in this case, if

any, is currently limited to the actual cash value of the covered property damage.

       8.       Wear and Tear, Deterioration. Plaintiff's claims are barred, in whole or in

part, because the damages and losses alleged in Plaintiff's Original Petition, none being

admitted, were proximately caused in whole or in part by wear and tear. The policy at

issue provides that wear and tear does not fall under the coverage of the policy:

                                     SECTION I - EXCLUSIONS

      1. We do not insure under any coverage for any loss which would not have
         occurred in the absence of one or mor e of the following excluded events. We
         do not insure for such loss regardless of: (a) the cause of the excluded event;
         or (b) other causes of the loss; or (c) whether other causes acted
         concurrently or in any sequence with the excluded event to produce the loss;
         or (d) whether the event occurs suddenly or gradually, involves isolated or
         widespread damage, arises from natural or external forces, or occurs as a
         result of any combination of these:
                                                 ***********
            l. Other Types of Loss
            (1) Wear and tear;
            (2) Rust or other corrosion, decay, deterioration, hidden or la tent defect or any
                quality in property that causes it to damage or destroy itself;
                                                ***********
            (4) Settling, cracking, shrinking or expansion . . .




                                                                                                 4
Case 9:19-cv-00169-RC-ZJH Document 3 Filed 09/19/19 Page 5 of 9 PageID #: 36



Part of the damages Plaintiff is claiming to the property occurred over time through

wear, tear, deterioration or settling, cracking, shrinking or expansion of building

materials. These conditions are not insured under the policy at issue.

      9.      Mold.     Plaintiff's claims are barred, in whole or in part, because the

damages and losses alleged in Plaintiff's Original Petition, none being admitted, were

proximately caused in whole or in part by mold. The policy at issue specifically provides:

                                   SECTION I - EXCLUSIONS
      1. We do not insure under any coverage for any loss which would not have
         occurred in the absence of one or mor e of the following excluded events. We
         do not insure for such loss regardless of: (a) the cause of the excluded event;
         or (b) other causes of the loss; or (c) whether other causes acted
         concurrently or in any sequence with the excluded event to produce the loss;
         or (d) whether the event occurs suddenly or gradually, involves isolated or
         widespread damage, arises from natural or external forces, or occurs as a
         result of any combination of these:
                                            ***********
           j. Fungi, Virus Or Bacteria
             (1) Growth, proliferation, spread or presence of "fungi" or wet or dry rot; or
                                             ***********
             (3) We will also not pay for:
                                              ***********
              (b) Any remediation of "fungi", wet or dry rot, virus, bacteria or other
                  microorganism, including the cost or expense to:
                  i.   Remove the "fungi", wet or dry rot, virus, bacteria or other
                       microorganism from Covered Property or to repair, restore or
                       replace that property;
                  ii. Tear out and replace any p art of the building or other property as
                      needed to gain access to the "fungi", wet or dry rot, virus, bacteria
                      or other microorganism; or
                  iii. Contain, treat, detoxify, neutralize or dispose of or in any way
                       respond to or assess the effects of the "fungi", wet or dry rot, virus,
                       bacteria or other microorganism; or
              (c) The cost of any testing or monitoring of air or property to confirm the
                  type, absence, presence or level of "fungi", wet or dry rot, virus,
                  bacteria or other microorganism, whether performed prior to, during or
                  after removal, repair, restoration or replacement of Covered
                  Property...
                                             ***********
                                   SECTION I - DEFINITIONS

                                                                                                 5
Case 9:19-cv-00169-RC-ZJH Document 3 Filed 09/19/19 Page 6 of 9 PageID #: 37



               7. "Fungi" means any type or form of fungus, including mold or mildew,
                  and any mycotoxins, spores, scents or by products produced or
                  released by fungi.

Part of the damages Plaintiff is claiming to the nursery and sanctuary resulted from

mold or mildew. These conditions are not insured under the policy at issue.

       10.     Surface Water. Plaintiff's claims are barred, in whole or in part, because

the damages and losses alleged in Plaintiff's Original Petition, none being admitted,

were proximately caused in whole or in part by surface water. The policy at issue

specifically provides:

                                  SECTION I - EXCLUSIONS
      1. We do not insure under any coverage for any loss which would not have
         occurred in the absence of one or mor e of the following excluded events. We
         do not insure for such loss regardless of: (a) the cause of the excluded event;
         or (b) other causes of the loss; or (c) whether other causes acted
         concurrently or in any sequence with the excluded event to produce the loss;
         or (d) whether the event occurs suddenly or gradually, involves isolated or
         widespread damage, arises from natural or external forces, or occurs as a
         result of any combination of these:
                                           ***********
             h. Water

               (1) Flood, surface water, waves (including tidal waves, tsunami, and
                   seiche), tides, tidal water, overflow of any body of water, or spray or
                   surge from any of these, all whether driven by wind or not;
               (2) Mudslide or mudflow;
               (3) Water or sewage that backs up or overflows from a sewer, drain or
                   sump;
               (4) Water or sewage under th e ground surface pressing on, or flowing or
                   seeping through:
                  (a)     Foundations, walls, floors or paved surfaces;
                  (b)     Basements, whether paved or not; or
                  (c)     Doors, windows or other openings; or

               (5) Material carried or otherwise moved by any of the Water, as described
                   in Paragraphs (1) through (4) above.




                                                                                             6
Case 9:19-cv-00169-RC-ZJH Document 3 Filed 09/19/19 Page 7 of 9 PageID #: 38



Part of the damages Plaintiff is claiming to paneling, and to the interior of the fellowship

hall and to the skirting of the parsonage resulted from surface water. This condition is

not insured under the policy at issue.

       11.      Defective Workmanship, Repairs, or Maintenance. Plaintiff's claims are

barred, in whole or in part, because the damages and losses alleged in Plaintiff's

Original Petition, none being admitted, were proximately caused in whole or in part by

defective workmanship. The policy at issue specifically provides:

                                   SECTION I - EXCLUSIONS
                                               ***********
       3. We do not insure under any coverage for any loss consisting of one or more
          of the items below. Further, we do not insure for loss described in Paragraphs
          1. and 2. immediately above regardless of whether one or more of the
          following: (a) directly or indirectly cause, contribute to or aggravate the loss;
          or (b) occur before, at the same time, or after the loss or any other cause of
          the loss:

             a. Weather Conditions
                Weather conditions. But this exclusion only applie d if weather conditions
                contribute in any way with a cause of event excluded in Paragraph 1. and
                2. above to produce the loss.

             b. Work
                Faulty, inadequate or defective:
                                               *************

                (2) Design, specifications, workmanship, repair, construction, renovation,
                    remodeling, grading, compaction;
                (3) Materials used in repair, construction, renovation or remodeling; or
                (4) Maintenance;
                of part or all of any property (including land, structures or improvement of
                any kind) on or off the described premises.

Part of the damages Plaintiff is claiming occurred due to weatherproofing issues around

roof flashing and windows, installation issues with respect to the metal roof paneling,

deferred or defective maintenance to cracking around screws on the metal roof, and

defective prior repairs. These conditions that are not insured under the policy at issue.

                                                                                               7
Case 9:19-cv-00169-RC-ZJH Document 3 Filed 09/19/19 Page 8 of 9 PageID #: 39



       12.      Extension of Claim Handling Deadlines. TEX. INS. CODE § 542.059(b)

applies to this Hurricane Harvey claim, such that the claim handling deadlines imposed

by the Texas Prompt Payment of Claims Act (TE X. INS. CODE § 542.055, et seq.) are all

"extended for an additional 15 days," as provided for under that section.

       13.      Bona Fide/Legitimate Dispute. A bona fide/legitimate dispute exists

precluding Plaintiff's recovery of damages under extra-contractual theories including for

violations of the Texas Insurance Code or any other statutory or common law authority.

       14.      Cap on Punitive Damages. TEX. CIV . PR AC. AN D REM. CO DE §41.001, et

seq., applies and punitive damages awarded, if any, are subject to the statutory limit set

forth therein, other applicable statutory authority, and the common law. Further, unless

Plaintiff proves Defendant's liability for punitive damages, and the amount of punitive

damages, if any, by clear and convincing evidence, any award of punitive damages

would violate Defendant's due process rights guaranteed by the Fourteenth Amendment

to the United States Constitution and by Section 19 of Article 1 of the Texas

Constitution.

                                         PRAYER

       Defendant State Farm Lloyds prays that upon final trial and hearing hereof, that

Plaintiff take nothing, and that Defendant recover its costs, fees, and expenses, and

such other further relief to which Defendant may show itself justly entitled.




                                                                                         8
Case 9:19-cv-00169-RC-ZJH Document 3 Filed 09/19/19 Page 9 of 9 PageID #: 40



                                               Respectfully submitted,

                                               NISTICO, CROUCH & KESSLER, P.C.


                                               By: _ /s/ M. Micah Kessler
                                                      M. Micah Kessler
                                                      State Bar No. 00796878
                                                      Avniel Adler
                                                      State Bar No. 24071933
                                               1900 West Loop South, Suite 800
                                               Houston, Texas 77027
                                               Telephone: (713) 781-2889
                                               Telecopier: (713) 781-7222
                                               Email: mkessler@nck-law.com
                                               Email: aadler@nck-law.com
                                               COUNSEL FOR DEFENDANT



                              CERTIFICATE OF SERVICE

         I certify that a true and correct copy of the foregoing instrument was served on
all parties through counsel of record in compliance with Rules 21 and 21a of the Texas
Rules of Civil Procedure on September 12, 2019, in the manner(s) prescribed below:

      David Dies
      1703 Strickland Drive
      Orange, Texas 77630
      VIA EFILE
                                                      /s/ Avniel Adler
                                                      Avniel Adler




                                                                                        9
